      Case 1:25-cv-00778-LLA          Document 35-1         Filed 04/18/25     Page 1 of 11




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SARA AVIEL,

                    Plaintiff,

                        –v.–                            Case No. 25-cv-00778

 SERGIO GOR, et. al.,

                    Defendants.



         STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF
              PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Local Civil Rule 7(h), Plaintiffs hereby provide the following statement of

material facts as to which there is no genuine issue:

CREATION AND BACKGROUND OF THE INTER-AMERICAN FOUNDATION

       1.      In 1969, Congress established the Inter-American Social Development Institute

(“ISDI”) as a “body corporate.” Pub. L. 91-175, 83 Stat. 805, 821–24 (Dec. 30, 1969). In 1971,

the ISDI changed its name to the Inter-American Foundation (“IAF”).

       2.      A bipartisan group in the U.S. Congress founded the IAF to address their concern

that the U.S. government needed to do better at directing its foreign development aid to the most

vulnerable and underserved people. Congress formed the agency as an alternative to large foreign

assistance programs and charged the agency with disbursing smaller amounts to local, community-

led organizations that worked directly on grassroots projects in Latin America.

       3.      Today, the IAF describes itself as a “nimble and transformative U.S. government

agency that invests in locally-led development across Latin America and the Caribbean.” Inter-

American Foundation, Who We Are (last accessed Apr. 17, 2025), https://www.iaf.gov/. The IAF
      Case 1:25-cv-00778-LLA          Document 35-1        Filed 04/18/25      Page 2 of 11




directly engages with community leaders, innovators, and entrepreneurs working to promote

prosperity, peace, and democracy in the region. Id. Since 1972, the IAF has funded $945 million

in small grants to nearly 6,000 local organizations across nearly every Latin American and

Caribbean country. Id.

       4.      According to its website, the IAF serves the United States’ strategic interests

throughout Latin America and the Caribbean in a cost-efficient manner. Id. Over 70% of IAF

grantees independently and anonymously surveyed reported that their opinion of the United States

had improved as a result of their work with the IAF. Id. For every dollar the IAF invested in fiscal

year 2024, grantees committed $1.36 in co-investment. Id. Philanthropic and corporate partners

have recognized the effectiveness of the IAF’s approach by channeling their own resources

through the IAF. Id.

       5.      Until a couple months ago, the IAF had over 400 active grantees in 27 countries.

Ex. A, Aviel Decl. ¶ 2. These local organizations work to stabilize communities affected by

transnational crime, foster sustainable economic prosperity, provide alternatives to migration, and

increase communities’ goodwill towards the United States in the face of increasing pressures from

actors like the People’s Republic of China. Id.

       6.      The IAF has long had bipartisan support and remains accounted for in recent

Congressional appropriation bills. The House Bill Report for the most recent State, Foreign

Operations, and Related Programs Appropriations Bill states: “[t]he Committee recognizes the

strong track record of the Inter-America Foundation (IAF) in achieving cost-share from new

grantees that is greater, on average by 20 percent, than IAF’s initial support for new projects. The

Committee encourages USAID to learn best practices from IAF in this regard . . . .” See Report

118-XXX, at *60–61, https://docs.house.gov/meetings/AP/AP00/20240612/117434/HMKP-118-




                                                  2
      Case 1:25-cv-00778-LLA             Document 35-1    Filed 04/18/25     Page 3 of 11




AP00-20240612-SD002.pdf. Similarly, a Senate resolution in 2019 “commending the Inter-

American Foundation on the occasion of its 50th Anniversary for its significant accomplishments

and contributions to the economic and social development of the Americas” was co-sponsored by

Senators     Rubio,     Cruz,   Kaine,    and   Cardin.    See   S.   Res.   297,   Cosponsors,

https://www.congress.gov/bill/116th-congress/senate-resolution/297/cosponsors.

THE IAF BOARD AND PRESIDENT

       7.       As provided in the IAF’s organic statute, 22 U.S.C. § 290f(h), the IAF’s board of

directors (the “IAF Board”) consists of “nine members appointed by the President, by and with the

advice and consent of the Senate.”

       8.       As of at least February 24, 2025, the IAF Board had four members, consisting of

two Republicans and two Democrats.

       9.       Eduardo “Eddy” Arriola was confirmed by the U.S. Senate as a member of the IAF

Board on March 29, 2012. 158 CONG. REC. D332 (daily ed. Mar. 29, 2012) (confirmations); Ex.

B, Arriola Decl. ¶ 1.

       10.      Juan Carlos Iturregui was confirmed by the U.S. Senate as a member of the IAF

Board on November 19, 2015. 161 CONG. REC. S8179 (daily ed. Nov. 19, 2015) (confirmations).

       11.      J. Kelly Ryan was confirmed by the U.S. Senate as a member of the IAF Board on

March 29, 2012. 158 CONG. REC. D332 (daily ed. Mar. 29, 2012) (confirmations).

       12.      Luis A. Viada was confirmed by the U.S. Senate as a member of the IAF Board on

November 19, 2015. 161 CONG. REC. S8179 (daily ed. Nov. 19, 2015) (confirmations).

       13.      The remaining five appointed positions on the Board are vacant.

       14.      The Board of the IAF confirmed the appointment of Sara Aviel as the president and

CEO of the IAF on March 7, 2022. Ex. A, Aviel Decl. ¶ 3. Ms. Aviel began her service as president




                                                  3
      Case 1:25-cv-00778-LLA          Document 35-1      Filed 04/18/25     Page 4 of 11




and CEO of the IAF on April 24, 2022, and has served in that role since that date. Id. Prior to

assuming the position at the IAF, Ms. Aviel was a Senior Advisor at the Center for Strategic and

International Studies—a bipartisan, non-profit research institution—and was the Founder and

Principal of Margalit Strategies. Id. ¶ 4. She previously served various roles in the Department

of the Treasury, the National Security Council, the World Bank Group, and the Office of

Management and Budget, and for international development organizations including Root Capital,

Mercy Corps and CARE. Id.

DEFENDANTS’ ACTIONS PURSUANT TO EXECUTIVE ORDERS

       15.     On February 19, 2025, President Trump signed an executive order with the purpose

“to dramatically reduce the size of the Federal Government” by “commenc[ing] a reduction in the

elements of the Federal bureaucracy that the President has determined are unnecessary.” Exec.

Order No. 14217, Commencing the Reduction of the Federal Bureaucracy, 90 Fed. Reg. 10577.

The EO targeted four independent agencies, including the Foundation. Id.

       16.     On the morning of February 20, 2025, Ms. Aviel learned that representatives from

the Department of Government Efficiency (“DOGE”) had requested a meeting for that afternoon.

Ex. A, Aviel Decl. ¶ 5. Ms. Aviel and other IAF personnel prepared for the meeting on short

notice by assembling discussion points describing how the IAF had functioned in service of

efficiency, and how the agency was in alignment with the administration’s aims stated in the

recently issued Executive Orders. Id. Ms. Aviel sought to align the agency with the President’s

stated policy instructions as permissible by law. Id.

       17.     On February 20, 2025, representatives of the U.S. DOGE Service—Nate

Cavanaugh and Ethan Shaotran—met with representatives of the IAF, including Ms. Aviel. Id.

¶ 6. Cavanaugh and Shaotran represented to the IAF that they were based at the General Services




                                                 4
      Case 1:25-cv-00778-LLA          Document 35-1        Filed 04/18/25      Page 5 of 11




Administration (“GSA”). Id. The DOGE representatives further informed the IAF that their goal

was to verify the IAF’s compliance with the President’s Executive Orders. Id.

       18.       During the meeting, IAF staff members sought to facilitate Cavanaugh and

Shaotran’s requests by initiating the process of providing access to IAF systems, including grants

management, human resources, finance, and procurement systems, among others.                     Id.

Additionally, Ms. Aviel attempted to share information on the IAF’s compliance with the

President’s Executive Orders and sought to highlight the agency’s efforts to align with the

administration’s priorities. Id. The DOGE representatives showed minimal interest in the

initiatives and instead indicated that their focus was on obtaining access to the IAF’s systems. Id.

       19.       The next day—Friday, February 21, 2025—IAF personnel, including Ms. Aviel,

met again with Cavanaugh and Shaotran, as well as Jacob Altik, a lawyer for the Executive Office

of the President. Id. ¶ 7. Altik stated his view that the minimum statutory requirements for the

IAF entailed the existence of a Board and a president, a presence in the District of Columbia, and

a minimum level of grants and contracts. Id. He further indicated that DOGE intended to conduct

a reduction in force (“RIF”) of almost all employees, and a termination of almost all grants and

contracts. Id.

       20.       The DOGE representatives asked Ms. Aviel to contact the Board immediately to

determine if the Board was in alignment on this plan, and suggested that if the Board were not so

aligned, the Board would be terminated and replaced with individuals who were aligned with

President Trump’s vision. Id. ¶ 8. Ms. Aviel explained that it would be difficult to convene the

Board immediately, that matters of this consequence required a Board meeting to discuss, and that

the Board was subject to certain legal requirements before convening.            Id.   The DOGE

representatives indicated their belief that they did not need to call a Board meeting, and that they




                                                 5
      Case 1:25-cv-00778-LLA         Document 35-1        Filed 04/18/25      Page 6 of 11




just needed a quick “yes-or-no” answer from the Board on alignment. Id. Ms. Aviel asked that

the specific request be put in writing. Id. Shortly after the meeting, at 4:27 p.m. on Friday,

February 21, Cavanaugh sent an email to Ms. Aviel and the IAF’s chief operating officer from a

GSA email address. The email, on which Altik and Shaotran were copied, consisted of six bullet

points, each of which contained a brief provision from the IAF’s organic statute in which Congress

used the word “shall.” Ex. C (Email from N. Cavanaugh).

        21.    After the meeting, Ms. Aviel heard from Congressional stakeholders from both

parties, and from both the Senate and House, that the IAF was legally restricted under the terms of

Section 7063 of Division F of the Further Consolidated Appropriations Act of 2024, Pub. L. No.

118-47 (2024) from initiating any reduction in the IAF’s functions without first providing notice

to Congressional appropriations committees. Id. ¶ 9. For example, on February 22 and 23, 2025,

Ms. Aviel heard from senior Republican and Democratic staff for the Senate Appropriations

Committee and the House Appropriations Committee who noted that the IAF’s annual funding

was already provided to “cover only the minimum statutory requirements” and that if Ms. Aviel

were to take actions to reduce staff, it “would be in contravention of the appropriations enacted

into law.” Id. Ms. Aviel shared this information with the IAF Board. Id.

        22.    From February 21, through the weekend, and on Monday, February 24, Ms. Aviel

spoke with each member of the IAF Board multiple times to analyze all options and identify the

best lawful path forward. Id. ¶ 10. Ms. Aviel also heard from multiple congressional stakeholders

and legal experts who believed that the DOGE plan was unlawful and contrary to congressional

intent. Id.

        23.    On February 24, 2025, Ms. Aviel spoke on the telephone with Cavanaugh and Altik.

Id. ¶ 11. During this call, the DOGE representatives claimed that with one exception, all members




                                                6
      Case 1:25-cv-00778-LLA         Document 35-1        Filed 04/18/25      Page 7 of 11




of the Board had been terminated. Id. Ms. Aviel expressed surprise at this news, given that she

had been in recent touch with each Board member. Id. The DOGE representatives asked Ms.

Aviel to confirm that she would implement DOGE’s agenda in the absence of a Board, and they

threatened that the President would terminate her if she declined to do so. Id. Ms. Aviel responded

that she could not further respond to DOGE’s requests without more specificity as to those requests

in writing and the opportunity to determine whether they were legal. Id. She further stated that

she was committed to always doing what was lawful, and to following all of her legal obligations

and responsibilities. Id. The DOGE representatives asked Ms. Aviel to sign a memorandum of

understanding agreeing that a DOGE representative would be detailed to the agency and would be

permitted access to the agency’s systems. Id. Ms. Aviel declined, stating that she did not believe

she had the authority to do so, given her understanding that her Board still remained. After the

call, Ms. Aviel confirmed that no Board member had yet received a termination letter from the

President, or anyone else.

       24.     In fact, neither President Trump nor anyone from his Office ever asked the Board

to terminate Ms. Aviel from her position as the IAF’s president and CEO. Ex. B, Arriola Decl.

¶ 3. To this day, at least one Board member still has not received any communication from

President Trump or anyone from his Office dismissing him from the Board. Id.

       25.     In the morning of February 26, 2025, DOGE representatives ordered the Senior

Procurement Executive (“SPE”) at the Department of Treasury to unilaterally “cancel all IAF

contracts” by the close of business on Thursday, February 27, 2025. Ex. D (2/26 Email re IAF

Contracts). These contracts included everything from the field contractors that provide grantees

with programmatic support and oversight, to contracts for basic services like email and agency

grant-management software. Ex. A, Aviel Decl. ¶ 12. The Administrative Resource Center




                                                7
      Case 1:25-cv-00778-LLA         Document 35-1       Filed 04/18/25     Page 8 of 11




(“ARC”)—which is housed at the Treasury Department’s Bureau of the Fiscal Service and

supports the IAF’s procurement and finance functions—shared that they had not yet received a

request in writing from the SPE and were “concern[ed] about the legality of this.” Ex. D.

THE PURPORTED TERMINATION OF MS. AVIEL

       26.    On the evening of Wednesday, February 26, 2025, Ms. Aviel received an email

from Trent Morse of the Presidential Personnel Office informing her that, at the direction of

President Trump, her position at the IAF had been terminated, effectively immediately. Ex. E

(Email from Morse to Aviel).

       27.    In addition, Ms. Aviel’s Leave and Earnings Statement that she received from the

Government after her purported firing shows that she accrued twenty-four (24) hours of work from

the pay period beginning February 24 and ending March 8, meaning that her employment was

considered by the Government to have terminated on February 26, 2025. Ex. F (Leave & Earnings

Statement). Additionally, the Notice of Personnel Action that she received after her termination

was cancelled on April 4 similarly shows that the effective date of her termination was February

26, 2025. Ex. G (Notification of Personnel Action). Ms. Aviel never received an email from

Marocco stating that her position had been terminated. Ex. A, Aviel Decl. ¶ 15. She has never

had any direct communication with Marocco. Id.

       28.    On the afternoon of February 28, 2025, Trent Morse sent an email to the IAF’s

chief operating officer, stating that President Trump had exercised a purported authority to

temporarily appoint Pete Marocco as the acting chairman and board member of the IAF. Ex. H

(Email from Morse to COO). The communication acknowledged that President Trump had no

statutory authority under the Federal Vacancies Reform Act or the Inter-American Foundation Act




                                               8
      Case 1:25-cv-00778-LLA         Document 35-1        Filed 04/18/25     Page 9 of 11




to appoint acting Board members but asserted that President Trump had inherent authority under

Article II to do so. Id.

        29.     Following his purported appointment as acting Chair of the Board of the IAF,

Marocco visited the IAF headquarters, seeking to hold an “emergency board meeting.” Ex. I

(Federal Register Minutes). Marocco determined that because “no one [wa]s [t]here to let [him]

in,” he was permitted to hold the meeting directly outside the IAF office. Id. Nate Cavanaugh and

Ethan Shaotran of DOGE attended, but Marocco was the only purported Board member in

attendance. See id. He voted to close the Board meeting to the public. Id. He then voted to

appoint himself as the acting president and CEO of the IAF. Id. Marocco later circulated a Board

Resolution, naming himself as acting Board Chair, president, and CEO of the IAF. Ex. J (Board

Resolution).

        30.     That same evening, the Administrative Resource Center received a directive

authorized by Marocco, now representing himself to be the president of the IAF, to terminate all

IAF contracts. Ex. K (2/28 Email re IAF Contracts). The ARC procurement team subsequently

informed a member of the IAF’s leadership team that they intended to “immediately” execute those

terminations, as authorized by the IAF’s “newly appointed President Peter Marocco.” Id. Almost

all IAF contracts were ultimately terminated that Friday evening and into Saturday morning with

the exception of a handful, such as those for human resources and information technology. Ex. A,

Aviel Decl. ¶ 18.

        31.     On March 2, 2025, members of the Board of the IAF wrote to Ms. Aviel, stating

their intent to serve in their positions until new Board members were duly appointed and confirmed

by the Senate, consistent with statutory law. Ex. L (Letter from IAF Board). They communicated

their view that, accordingly, the governance of the IAF remained unaltered and in place, no duly




                                                9
     Case 1:25-cv-00778-LLA          Document 35-1         Filed 04/18/25      Page 10 of 11




qualified members of the Board had fired Ms. Aviel, and that she remained the Foundation’s

president and CEO. Id. The Board directed Ms. Aviel to oversee the continuation of the IAF’s

regular operations, including monitoring and oversight of the Foundation’s grantees. Id.

       32.     On or around March 4, 2025, Marocco and DOGE began implementing a RIF of

the IAF’s employees. Ex. A, Aviel Decl. ¶ 20. At that time, the IAF had 36 employees (not

including Ms. Aviel), although three had previously signed agreements to depart through voluntary

early retirement or the “Fork in the Road” deferred resignation offer. Id. Thirty-three staff were

issued RIF notices, which were sent on behalf of Marocco and identified an official separation date

of Friday, April 4, 2025. Id. Thirty staff were placed on administrative leave, shut out of the IT

systems, and barred from accessing the IAF’s offices. Id. Three staff were not placed on

administrative leave so that they could assist in the winddown activities. Id. Marocco and the

DOGE team later voided the RIF of one employee—Dominic Bumbaca, the chief information

security officer—and purportedly appointed him as CEO. Id. In addition, the IAF’s website was

taken down. Id.

       33.     In addition, on or around March 4, Marocco terminated virtually all existing IAF

grants. Id. ¶ 21. The only exception was a single grant that only had limited funds remaining—

approximately $66,000—that was set to expire soon. Id. The IAF also continues to own a single

equity investment in a microfinance institution. Id.

       34.     Grantees were notified that their grants had been canceled in form letters sent on

March 4, 2025, stating that the grant was “inconsistent with the agency’s priorities,” and that “the

President’s February 19, 2025 executive order mandates that the [Foundation] eliminate all non-

statutorily required activities and functions.” Ex. M (Grantee Letter). The letter further instructed




                                                 10
     Case 1:25-cv-00778-LLA          Document 35-1        Filed 04/18/25         Page 11 of 11




grantees to “send remaining, unspent funds to the [Foundation], in accordance with the termination

clause and local law, within fifteen (15) days or as soon as practicable.” Id.

       35.     In direct response to DOGE’s actions, IAF philanthropic partners have asked that

their donations be returned. Ex. A, Aviel Decl. ¶ 22.

       36.     Upon returning to the IAF offices after April 4, 2025, and after she had her access

to the system restored, Ms. Aviel discovered that on April 4, 2025, at 3:52PM EST, a

team@iaf.gov account that was created for the exclusive use of the DOGE representatives, Nate

Cavanaugh and Ethan Shaotran, deactivated administrative access for Dominic Bumbaca. Id. ¶ 23;

Ex. N (Google Admin Logs).



Dated: April 18, 2025                                 Respectfully submitted,

                                                      /s/ Aaron S.J. Zelinsky                    .
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                                                11
